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              UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Case No. 07-mj-029-03-JM

Ian Burns

                 ORDER OF DETENTION PENDING TRIAL

     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on May 17,

2007, for the purpose of determining whether to detain defendant,

Ian Burns, who has been indicted on one count of conspiracy to

commit bank robbery, one count of aiding and abetting bank

robbery and one count of possession of a firearm in furtherance

of a crime of violence.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.         In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.            18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall
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consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer a preponderance of the evidence to prove risk

of flight.   See Patriarca, 948 F.2d at 792-93.         Facts necessary

to find that no combination will reasonably assure the safety of

any person and the community require satisfaction of the “clear

and convincing” standard.     18 U.S.C. § 3142(f)(2).

     In the case at hand, the indictment itself constitutes

probable cause to believe that the offenses charged have been



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committed and that the defendant has committed them.

     Here, I find that the government has met its burden with

regard to danger to the community.         Specifically, the weight of

the evidence is substantial.     The weapon used by Corey Donovan

was a Kel Tec rifle.    Two co-conspirators state that this

defendant provided that weapon to Donovan knowing Donovan would

use it to rob a bank.    Defendant also assisted in the “escape” of

Donovan and the snowmobile after the robbery.          Statements

implicating Burns were made by Donovan in the presence of non-

conspirators.   A woman witness reported that Corey gave Burns

$1,000 of the $10,000 obtained from the bank.          Barnes bought the

Kel Tec on July 26, 2006 from “Abe’s Armaments”.             His

participation in this crime of violence and particularly his role

in providing the weapon greatly outweigh any ties to the

community so far as danger to the community is concerned.

     I am satisfied from the representations and documents

offered during the hearing that no condition or combination of

conditions will reasonably assure the safety of the community.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant poses a

danger to the community.



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     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.      The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                   On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

     SO ORDERED.


                                    ______________________________
                                    James R. Muirhead
                                    United States Magistrate Judge


Date:    May 17, 2007
cc:      Terry L. Ollila, AUSA
         Mark L. Sisti, Esq.
         Paul J. Garrity, Esq.
         Liam D. Scully, Esq.
         Sven D. Wiberg, Esq.
         U.S. Marshal
         U.S. Probation

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